

People v Dame (2021 NY Slip Op 07484)





People v Dame


2021 NY Slip Op 07484


Decided on December 23, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2021

PRESENT: SMITH, J.P., CARNI, LINDLEY, WINSLOW, AND BANNISTER, JJ. (Filed Dec. 23, 2021.) 


MOTION NO. (794/16) KA 12-01813.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vMALCOLM DAME, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








